Case 2:22-cv-12951-MAG-JJCG ECF No. 56, PageID.808 Filed 05/31/23 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JILL BABCOCK, JAIME JUNIOR and
ASHLEY JACOBSON, on behalf of                      No. 2:22-cv-12951
themselves and all others similarly situated,
                                                   HON. MARK A. GOLDSMITH
      Plaintiffs,
v                                                  MAG. JONATHAN J.C. GREY

STATE OF MICHIGAN, COUNTY OF
WAYNE, CITY OF DETROIT, WAYNE
COUNTY BUILDING AUTHORITY,
DETROIT BUILDING AUTHORITY,
DETROIT-WAYNE JOINT BUILDING
AUTHORITY and HINES, out of state
corporation authorized to do business in
Michigan,

      Defendants.



Michael W. Bartnik (P32534)                     Cassandra Drysdale-Crown (P64108)
Attorney for Plaintiffs                         Assistant Attorney General
41000 Woodward Avenue, Suite 350                Attorney for Defendant
Bloomfield Hills, Michigan 48304                State of Michigan
248.608.3660                                    P.O. Box 30736
michaelbartnik@protonmail.com                   Lansing, Michigan 48909
                                                517.335.7659
Kimberly Pendrick (P60348)                      drysdalecrownc@michigan.gov
Assistants Attorney General
Attorney for Defendant State of                 Charles N. Raimi (P29746)
Michigan                                        Deputy Corporation Counsel, City of
3030 West Grand Blvd.                           Detroit
Detroit, Michigan 48202                         Attorney for Defendant City of
313.456.0200                                    Detroit
pendrickk@michigan.gov                          2 Woodward Ave, Suite 500
                                                Detroit, Michigan 48226
                                                313.237.5037
                                                raimic@detroitmi.gov
Case 2:22-cv-12951-MAG-JJCG ECF No. 56, PageID.809 Filed 05/31/23 Page 2 of 3




Jesse Halfon (P66936)                       James Heath (P65419)
Attorney for Defendants City of             James M. Jernigan (P57035)
Detroit                                     Attorneys for Defendants Wayne Co.
2 Woodward Avenue, Suite 500                and
Detroit, Michigan 48226                     Wayne Co Building Authority
313.237.5244                                400 Monroe, Suite 290
jesse.halfon@detroitmi.gov                  Detroit, Michigan 48226
                                            313.202.7188
Richard W. Warren (P63123)                  jjernigan@waynecounty.com
Kimberly M. Coschino (P83086)               jheath@waynecounty.com
Co-Counsel for Defendant City of
Detroit                                     Gregory N. Longworth (P49249)
150 W. Jefferson Ave., Suite 150            Paul S. Magy (P34423)
Detroit, MI 48226                           Attorneys for Defendants DWJBA &
313.963.6420                                Hines
warren@millercanfield.com                   151 South Old Woodward, Suite 200
coschino@millercanfield.com                 Birmingham, Michigan 48009
                                            248.988.5844
Monica N. Hunt (P68838)                     pmagy@clarkhill.com
Counsel for Detroit Building                glongworth@clarkhill.com
Authority
3011 West Grand Boulevard
2500 Fisher Building
Detroit, Michigan 48202
313.871.5500
mhunt@alglawpc.com


                                   APPEARANCE

      PLEASE TAKE NOTICE that Richard W. Warren of Miller, Canfield,

Paddock & Stone, P.L.C., hereby enters his Appearance as co-counsel on behalf of

Defendant City of Detroit in the above-captioned action.

                               Respectfully submitted,
                               MILLER, CANFIELD, PADDOCK & STONE,
                               P.L.C.
                               By:     /s/Richard W. Warren
                                      Richard W. Warren (P63123)
                                      Co-Counsel for Defendant City of Detroit
                                      (313) 963-6420
Dated: May 31, 2023                   warren@millercanfield.com
Case 2:22-cv-12951-MAG-JJCG ECF No. 56, PageID.810 Filed 05/31/23 Page 3 of 3




                          CERTIFICATE OF SERVICE

      The undersigned certifies that on, May 31, 2023, he served the foregoing

document using the court’s ECF filing system, which will send notice of such filing to

all counsel of record.


                               /s/Richard W. Warren
                               Richard W. Warren
